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   Ý¿-»æ ìæïíó½ªóððîèì Ü±½ò ýæ ïóï Ú·´»¼æ ðîñïëñïí Ð¿¹»æ é ±º ïï Ð¿¹»×Ü ýæ ïï
Case: 4:13-cv-00284-NAB Doc. #: 2 Filed: 02/15/13 Page: 2 of 5 PageID #: 19
   Ý¿-»æ ìæïíó½ªóððîèì Ü±½ò ýæ ïóï Ú·´»¼æ ðîñïëñïí Ð¿¹»æ è ±º ïï Ð¿¹»×Ü ýæ ïî
Case: 4:13-cv-00284-NAB Doc. #: 2 Filed: 02/15/13 Page: 3 of 5 PageID #: 20
   Ý¿-»æ ìæïíó½ªóððîèì Ü±½ò ýæ ïóï Ú·´»¼æ ðîñïëñïí Ð¿¹»æ ç ±º ïï Ð¿¹»×Ü ýæ ïí
Case: 4:13-cv-00284-NAB Doc. #: 2 Filed: 02/15/13 Page: 4 of 5 PageID #: 21
  Ý¿-»æ ìæïíó½ªóððîèì Ü±½ò ýæ ïóï Ú·´»¼æ ðîñïëñïí Ð¿¹»æ ïð ±º ïï Ð¿¹»×Ü ýæ ïì
Case: 4:13-cv-00284-NAB Doc. #: 2 Filed: 02/15/13 Page: 5 of 5 PageID #: 22
  Ý¿-»æ ìæïíó½ªóððîèì Ü±½ò ýæ ïóï Ú·´»¼æ ðîñïëñïí Ð¿¹»æ ïï ±º ïï Ð¿¹»×Ü ýæ ïë
